Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 1 of 11




                       Exhibit 4
  Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 2 of 11




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig “Deepwater            *        MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April           *
   20, 2010                                           *        SECTION J
                                                      *
                                                      *
                                                      *        HONORABLE CARL J.
                                                      *        BARBIER
                                                      *
This document relates to Civ. A. No. 12-970.          *        MAGISTRATE JUDGE
                                                      *        SHUSHAN
                                                      *


                          DECLARATION OF BRIAN L. GASPARDO

I, Brian L. Gaspardo, hereby declare and state as follows:

        1.      I am over the age of 21 years and a resident of the State of Illinois. Unless

otherwise stated, I have personal knowledge of the facts set forth herein and, if called to do so,

could testify truthfully thereto.

        2.      In accordance with the Court’s October 25, 2013 Scheduling Order regarding the

BEL Remand (Rec. Doc. 11735), I submit this Declaration to supplement the factual record

regarding the intended meaning of Exhibit 4C as it applies to the calculation of a claimant’s lost

variable profits.

        3.      I am the Managing Member of O’Neill & Gaspardo, LLC, a consulting and CPA

firm located in Mokena, Illinois. I am a Certified Public Accountant and have over 20 years of

professional experience performing audit, tax, accounting, business valuation, financial analysis,

and consulting services for clients throughout the United States. I received a B.A. in economics

from Harvard University in 1991 and an M.B.A. from the University of Chicago in 2001. I serve

on the Boards of Old Plank Trail Bank and La Rabida Children’s Hospital in Chicago.


                                                  1
    Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 3 of 11




           4.   I was a participant, on behalf of BP, at many negotiating sessions with

representatives of the Plaintiffs’ Steering Committee (“PSC”) that ultimately resulted in the

Settlement Agreement executed by the parties on April 18, 2012 (“Settlement Agreement”).

                The Settlement Agreement Relies on a “Lost Profits” Framework

           5.   I participated in negotiating sessions of the Accounting Working Group.1 In

sessions of that group that I attended, representatives of both BP and the PSC consistently

asserted that the purpose of the Compensation Framework for BEL claimants was to compensate

businesses for lost profits due to the Deepwater Horizon oil spill. The parties discussed the fact

that under the Settlement Agreement this would be accomplished by comparing the profits a

claimant would have earned if the spill had not occurred to the actual profits earned by the

claimant. At no point did a representative of either party state that they were seeking a measure

of damages other than an accurate measure of lost profits that appropriately captured economic

reality.

           6.   In particular, at no point did a representative of either party suggest that an

economically rational measure of lost profits would not require that expenses be matched to the

revenue those expenses generated. To the contrary, this concept was inherent in the parties’

discussion of which expenses would be classified as “fixed” and which would be categorized as


1
    The Accounting Working Group was a subset of the larger negotiating group. It met
    approximately ten times for an hour or two during each meeting. Members of the group
    included the following individuals from BP: Hal Sider (Compass Lexecon), Evan McKay
    (Compass Lexecon), George Hickey (Compass Lexecon), Jim Olin (C2G Advisors, LLC),
    Craig Elson (CRA International), Renee McMahon (CRA International), Charles Douglas
    (Kirkland & Ellis LLP), and Andrew Karron (Arnold & Porter LLP); as well as counsel and
    experts from the PSC: John Tomlinson (Beasley, Allen, Crow, Methvin, Portis & Miles,
    P.C.), Rhon Jones (Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.), Michael Scott (Carr
    Riggs & Ingram, LLC), and Robert M. Wallace (consulting accountant). Most of these
    individuals attended most meetings, although not every member was present at every meeting
    and other individuals joined some meetings.

                                                   2
    Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 4 of 11




“variable” under the Settlement Agreement. This distinction between “fixed” and “variable” was

critical because Exhibit 4C provides that variable profits are to be determined by subtracting

“corresponding variable expenses” from revenue; fixed expenses are excluded from the

computation.

        7.       In an Accounting Working Group meeting devoted to the topic of distinguishing

fixed from variable expenses, the PSC, specifically Mr. Scott, proposed that the test for whether

a given expense qualified as a variable expense would be whether the expense changed as

revenue changed—in other words, whether the expense varied with revenue. I understood this

definition of variable expense as a clear recognition by the PSC and its accounting advisors that a

variable expense must inherently be tied to the revenue generated by that expense.

                 Adjustments to Claimants’ Financial Statements Are Necessary

        8.       Representatives of both parties also stated that they recognized that monthly

financial statements from claimants would often be unreliable and that to ensure statements were

relevant and reliable the Claims Administrator would be required to review the statements

submitted by claimants, request additional documentation, and make adjustments.

        9.       During the course of negotiations, BP never agreed that it would be acceptable if

claimants failed to allocate revenue in the appropriate months, refused to match expenses to the

revenue those expenses generated, or defined “corresponding variable expenses” in a manner

such that expenses do not correspond to the revenue they generated. Rather, BP relied on the

fact that the accountants in the CSSP would detect these irregularities and engage in these very

adjustments. 2


2
    Throughout this declaration, I refer to the CSSP. At the time of negotiations, we referred
    generally to this concept of the body that would review claimants submissions as the “claims
    facility,” “Claims Administrator,” or “whatever takes the place of the GCCF.”

                                                  3
  Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 5 of 11




       10.     The representatives of the PSC often stated that the Claims Administrator would

need to make adjustments to claimants’ P&L statements. The PSC and BP agreed, and often said,

that the role of the Claims Administrator would be to investigate anomalies in the claimants’

records and make corrections as needed. Bonuses were one example of an expense discussed by

the parties that would need to be allocated to the time in which the services were rendered (and

bonus/revenue earned). During an Accounting Working Group meeting in the fall of 2011, the

parties discussed how to handle a bonus paid by a claimant at a single point during the year. Mr.

Wallace acknowledged that the Claims Administrator would be responsible for allocating

expenses like bonuses across the months in which they were incurred. In the case of a bonus,

this meant allocating the single expense into smaller expenses across the months in which the

work was performed. From the discussion about this example, I understood that the Claims

Administrator would be responsible for recording revenue in the proper months and matching

expenses to the revenue generated by those expenses.

       11.     To accommodate the need for adjustments in claimants’ statements, Exhibit 4A

contains provisions that require the claimant to provide additional documentation upon request

by the Claims Administrator and which allow the Claims Administrator to make correcting

adjustments as necessary. I had direct involvement in the negotiation of the terms of Exhibit 4A.

During negotiations of the terms, BP requested more stringent documentation requirements,

including sales by customer by month, shipping logs, inventory reports, project management

software reports, and other specific documents. In the Accounting Working Group, the PSC

expressed concerns that expanding the list of required documents could be overly burdensome

for some claimants and that different documents would be needed for different industries and

claimants.



                                                4
    Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 6 of 11




        12.     To resolve this conflict between the PSC’s desire for a claimant-friendly process

and BP’s insistence that sufficient records be produced to allow for the adjustments necessary to

determine lost profits consistent with economic reality, the PSC, specifically Joe Rice, suggested

that the Settlement Agreement need not have an expansive list of additional documents required

because the Claims Administrator should have the ability to request additional documents as

necessary. This agreement, which accomplished both parties’ goals, was embodied in the

statement that the Claims Administrator may “request source documents for profit and loss

statements.”3

        13.     The agreed purpose of Exhibit 4A was to allow the Claims Administrator to

confirm the accuracy of monthly financial statements as submitted or receive the detail necessary

to adjust and accurately reflect monthly financial statements. I recall that the Accounting

Working Group discussed what would be done when anomalies in monthly P&L statements were

encountered by the CSSP. The conclusion of BP and PSC was that when such anomalies

appeared, the Claims Administrator had the ability to investigate such issues, ask for additional

documentation, and take action to ensure that the statements provided an accurate and reliable

measure of economic loss.

           Accounting Experts Are a Necessary Element of Claims Administration

        14.     In keeping with the recognition that the Claims Administrator would be required

to make adjustments to claimants’ financial statements, representatives of the PSC repeatedly




3
    Exhibit 4A states, “The Claims Administrator may, in his discretion, request source
    documents for profit and loss statements. If there is a discrepancy between amounts reflected
    in a tax return and comparable items reflected in a profit and loss statement for the same
    period, the Claims Administrator may request the claimant to provide additional information
    or documentation.”

                                                 5
  Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 7 of 11




expressed their expectation that the Claims Administrator would be required to exercise

accounting expertise.

       15.     On or about September 28, 2011, for instance, Mr. Wallace provided a sample of

claimant data for the stated purpose of illustrating the need for accounting expertise. The

claimant in the example was a seafood processor. Mr. Wallace provided his computation of how

this claimant should be treated and how he believed compensation computations should be

performed. In his example, Mr. Wallace made an apparent adjustment from a standard cost used

by this claimant to an accounting of actual costs across months. Mr. Wallace also made two

points with his example: First, it would be impossible to standardize claims processing because

each claimant will have idiosyncrasies in how they reflect and record data; and, second, it would

be necessary for the Claims Administrator (or his accountants) to have the accounting expertise

to address differences in the accounting approach taken by claimants in order to make the

adjustments necessary to treat similarly situated businesses similarly.

       16.     The PSC consistently urged the CSSP to hire accounting firms that would be

capable of exercising their judgment and expertise in the resolution of claims. The PSC’s

original concern, as expressed in negotiations, was that the burden to provide accurate and

reliable accounting records suitable for use in a lost profits analysis should not rest on claimants,

but that they should be able to “come as they are,” bringing contemporaneous financial

information as kept in the ordinary course. PwC was already employed in the GCCF process,

and the parties discussed the fact that PwC made adjustments in the course of their GCCF work

(although a PSC complaint was that those adjustments were not done in an open way and shared

with claimants). Mr. Wallace stated that it was necessary to have experienced accountants who

would be able to treat similarly situated claims in the same manner. The PSC also recommended



                                                  6
  Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 8 of 11




hiring Postelthwaite & Netterville. It was my understanding, based on many negotiating sessions

with the PSC, that the two accounting firms, PwC and Postelthwaite & Netterville, would apply

skills well beyond data entry.

       17.     The role of the accounting professionals hired by the CSSP was also recognized

by Mr. Rice during negotiations over the content of documents required by Exhibit 4A to the

Settlement Agreement. For example, Mr. Rice argued that extensive production of documents

should not be required of claimants to guard against fraud because there would be an accountant

review of claimants’ files which would then determine if additional production was warranted.

The PSC stated in a September 28, 2011 document outlining the Claims Data Collection

Procedure that the accountants hired would review the information received from the claimants

and would perform the required calculations “[i]f reviewed items appear reasonable relative [to]

monthly revenues.” By implication, items that contain errors and misstatements or don’t reflect

economic reality would be unreasonable and the accountants would not use those documents to

calculate compensation without making adjustments necessary to reflect economic performance

and reality.

                    BP Did Not Agree to Limit CSSP’s Scrutiny of Claims

       18.     From late October through early November 2011, the PSC provided claimant data

to perform a limited exercise. As part of this exercise, I reviewed several Excel spreadsheets

described as “calculation worksheets/data entry files” provided by the PSC on or about October

17, 2011. In them is a footnote, apparently created by PSC, which states, “Some claimants (e.g.

Seafood Processors) may report monthly processing costs using standard cost accounting

systems. In these instances, COGS must be adjusted to reflect the ACTUAL monthly costs.”

The reference to adjusting expenses to reflect “ACTUAL monthly costs” is consistent with the



                                                7
  Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 9 of 11




statements made by representatives of the PSC, including Mr. Wallace and Mr. Scott, throughout

negotiations.

       19.      This process was not designed to replicate the analysis that the CSSP would later

undertake. The PSC did not provide the full files for the claimants and withheld much of the

information about these claimants, consistent with the purpose of the exercise. Although I was

not responsible for BP’s calculations using the data provided by the PSC in October 2011, I was

present for the discussion between the parties. First, the purpose of the exercise was not to

confirm the accuracy of the underlying monthly data or conform data to economic reality.

Second, the data provided would not have been adequate to detect trends or evaluate whether

further testing was necessary and, as a result, no such analysis was performed. Third, there was

no analysis of whether the monthly data provided in these examples was accurately measured

because there was no opportunity to understand the claimant’s business, ask questions of the

claimant, or obtain documentation (including tax returns, which are required under the

Settlement Agreement). Without this information, it was impossible to assess the reasonableness

and economic reality of the monthly statements presented, and therefore such an analysis was not

performed. Even if a request for additional data could have been made, such a request would

have had no purpose since the Accounting Working Group was not making a judgment about

how much the claimant was actually entitled to recover.

       20.      I recall that in one of the examples discussed in late October or early November,

2011, the parties noted an anomaly in the data. Rather than seek to correct this anomaly, the

parties simply used the data in the exercise and acknowledged that were the example a real

claim, the CSSP would inquire and request additional documents necessary to assess the

economic reality.



                                                 8
 Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 10 of 11




      BP Believed that the CSSP Would Attempt to Measure Economic Performance

       21.     The representatives of PSC never said to BP that the CSSP would fail to match

corresponding variable expenses to the revenue generated by that expense. Approximately one

month before the parties signed the Settlement Agreement, I attended a meeting in New Orleans

with Mr. Hacker of PricewaterhouseCoopers LLP. Mr. Hacker suggested that Step One of

Exhibit 4C could be calculated in a way different from that which the parties had negotiated and

agreed. He suggested that the calculation of Variable Profit could be calculated with “less work”

by using an element of Step Two that avoided the calculation of “corresponding variable

expenses” on a monthly basis for the post-spill period. Mr. Hacker did not indicate that if the

parties failed to accept his suggestion, he would not match revenue to corresponding variable

expenses. In fact, this statement indicated to me that Mr. Hacker understood that the process of

matching revenue to corresponding variable expenses would be a necessary element of his work

under the agreed to language. Moreover, to my knowledge, the PSC never suggested that Mr.

Hacker would not perform matching under the Settlement Agreement.

       22.     I subsequently reviewed a memo from Mr. Hacker dated April 4, 2012, in which

he again raised the alternate method of calculation, which would “[h]ave the potential of more

accurately matching revenue with expenses by consistently using a longer base period” and

“[r]educe the amount of work required to complete Step 1.” Again, the PSC did not agree to this

proposal, but there was no indication from Mr. Hacker or the PSC that the CSSP would not

perform the “work” Mr. Hacker described as “accurately matching revenue with expenses.”




                                                9
Case 2:10-md-02179-CJB-DPC Document 11818-4 Filed 11/07/13 Page 11 of 11
